            Case 1:20-cv-01973-SAG Document 13 Filed 10/01/20 Page 1 of 5


                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MARYLAND

           DEBORAH LAUFER,
               Plaintiff

                      v.                            Case No. 1:20-cv-1973

     BRE/ESA P PORTFOLIO, LLC,
             Defendant.


MOTION BY: Plaintiff
RELIEF REQUESTED: An Order striking Defendant’s Reply
BASIS FOR RELIEF REQUESTED: Federal Rule of Civil Procedure 12(f)2.
SUPPORTING PAPERS: Memorandum of Law in Support of Motion to Strike
DATE AND TIME: To be determined by this Court
Dated: October 1, 2020


By: /s/ Tristan W. Gillespie
Tristan W. Gillespie, Esq.

THOMAS B. BACON, P.A.
5150 Cottage Farm Rd.
Johns Creek, GA 30022
Tel: 404.276.7277
gillespie.tristan@gmail.com
Attorneys for Plaintiff
            Case 1:20-cv-01973-SAG Document 13 Filed 10/01/20 Page 2 of 5


Plaintiff's Memorandum of Law to Strike Defendant’s Reply or in the Alternative for
Leave of Court to File a Surreply to Defendant’s Reply Attempting to Justify its
Motion to Dismiss

PRELIMINARY STATEMENT
      Plaintiff, by undersigned counsel, respectfully requests leave to file a surreply to the

Defendant’s Reply to Plaintiff's Opposition to Motion to Dismiss. Plaintiff respectfully

submits that a surreply is necessary because Defendant’s in their reply brief raised numerous

arguments that they did not raise in their original Motion to Dismiss which are not responsive

to the issues raised by Plaintiff in her Opposition to the Motion to Dismiss. Many of

defendant’s arguments contain misstatements and distortion of the facts that mischaracterize

the nature of plaintiff's complaint. There are at least five new arguments and incorrect

statements that cannot go unrebutted and further those statements were not made in

Defendant’s original Motion to Dismiss.


INTRODUCTION
      Defendant filed their reply on 9/29/2020 in support of the motion to dismiss. Instead

of limiting their reply brief to those arguments set forth in Plaintiffs' opposition, Defendant

set forth the following new arguments for the first time that:


(1)   Plaintiff Relies Extensively on Non-Controlling Florida Cases.
(2)   Fourth Circuit Authority Supports Dismissal of This Case.
(3)   The Requirements for Standing Do Not Derive from the ADA.
(4)   Plaintiff’s Newly Filed Affidavit Cannot Cure Defects in The Complaint.
(5)   Defendant Has Not Violated The ADA.
            Case 1:20-cv-01973-SAG Document 13 Filed 10/01/20 Page 3 of 5


In support of these new arguments, Defendant cited the following cases for the first time in

their reply brief: Harty v. Luihn Four, Inc., Lee v. City of Los Angeles, Nanni v. Aberdeen

Marketplace, Inc., Norkunas v. Park Road Shopping Center, Inc., Payne v. Sears, Tellabs,

Inc. v. Makor Issues & Rights, Ltd. These new arguments which Defendant are raising for

the first time in their reply are arguments that could have and should have been raised in

their initial motion to dismiss, thereby allowing the Plaintiff the opportunity to respond.

Defendant’s untimely introduction of these issues is procedurally improper and unfair to

Plaintiff. Further, Defendant grossly misstates the allegations in the complaint.


      Accordingly, Plaintiff respectfully requests that this Court strike the new arguments,

or in the alternative, grant Plaintiff leave to file a surreply to address Defendant’s newly

raised arguments.


ARGUMENT
      “Surreplies may be permitted when the moving party would be unable to contest

matters presented to this Court for the first time in the opposing party's reply.” Khoury v.

Meserve, 268 F.Supp.2d 600, 605 (D.Md. 2003),aff'd, 85 Fed.Appx. 960 (4th Cir. 2004). It

is well settled that new arguments cannot be made for the first time in a reply brief. See

Lentini v. California Center for the Arts, 370 F.3d 837, 843 n.6 (9th Cir. 2004); Jones v.

Deja Vu, No. 05-0997, 2005 WL 1629941 (N.D. Cal. July 6, 2005). For this reason, this

Court should disregard Defendant’s untimely arguments. See Contratto v. Ethicon, 227

F.R.D. 304, 309 n.5 (N.D. Cal. 2005) (striking new evidence submitted with reply papers

and characterizing "the Defendant’s attempt to introduce new evidence in connection with
            Case 1:20-cv-01973-SAG Document 13 Filed 10/01/20 Page 4 of 5


their reply papers [as] improper"). If this Court chooses to consider Defendant’s new

arguments, Plaintiff is entitled to respond fully to those arguments by way of full briefing

on each of these issues. Clark v. Mason, No. C04-1647C, 2005 WL 1189577 (W.D. Wash.

May 19, 2005). See also, Qiu v. Chertoff, No. C07-0578, 2007 WL 1831130 (N.D. Cal. June

25, 2007) ("[T]he Court declines to consider an argument raised for the first time in the reply

brief because to do so would deprive [plaintiffs] of an opportunity to respond.").


      It is well-settled that a party cannot raise a new issue for the first time in a reply brief.

See Martinez-Serrano v. INS, 94 F.3d 1256, 1259 (9th Cir. 1996). Indeed, it is equally well-

settled that a court should not consider or address arguments that are raised for the first time

in a reply brief. Here, the Defendant did not raise the arguments listed above in their Motion

to Dismiss, and Plaintiff did not raise them in her Opposition. As a result, each of these

contentions, and all of the arguments upon which they are based, have been waived.


      Accordingly, this Court should strike these arguments and refuse to consider them in

evaluating Defendant’s Motion to Dismiss.
            Case 1:20-cv-01973-SAG Document 13 Filed 10/01/20 Page 5 of 5


CONCLUSION


      For the reasons stated herein, Plaintiff respectfully requests entry of an order striking

Defendant’s Reply. Alternatively, Plaintiff respectfully requests leave to file a surreply in

order to correct the Defendant’s misstatements.


Dated: October 1, 2020


By: /s/ Tristan W. Gillespie
Tristan W. Gillespie, Esq.


THOMAS B. BACON, P.A.
5150 Cottage Farm Rd.
Johns Creek, GA 30022
Tel: 404.276.7277
gillespie.tristan@gmail.com
Attorneys for Plaintiff
